          Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 1 of 27




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
--------------------------------------------------X
Carol Lynn Birkner:
and John Matthew Wolfe,                               Case No._____________
Plaintiffs,

v.

Nesh Auto Sales LLC,
Defendant
--------------------------------------------------X


COMPLAINT-JURY DEMAND


INTRODUCTION AND BACKGROUND FACTUAL INFORMATION


     1.    Plaintiffs Carol Lynn Birkner and John Matthew Wolfe live in

           North Carolina.

     2.    Nesh Auto Sales LLC, as its name indicates, sells used cars for

           profit.

     3.    Nesh may be served at 2950 Midway Rd., Decatur, GA 30030.

     4.    Plaintiffs travelled to Georgia to purchase a used Toyota Prius.

     5.    Nesh knowingly advertised mileage for the Prius that was not

           accurate.
      Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 2 of 27




6.     A term of the sale was that the actual miles of the Prius were

       166,075.

7.     Plaintiffs were told that the Prius had 166,075 miles.

8.     Plaintiffs only wanted to purchase the Prius because it had 166,075

       miles.

9.     Put another way, Plaintiffs were not interested in purchasing the

       Prius if the representation that the car had 166,075 miles was false.

10.    Plaintiffs paid $6,388 to purchase the Prius with 166,075 miles.

11.    Plaintiffs did not agree to pay any money, let alone $6,388, to

       purchase a Prius with more than 166,075 miles.

12.    Plaintiffs reasonably relied upon the representation of Nesh

       regarding the actual milage of the Prius being 166,075.

13.    Nesh intentionally and falsely defrauded Plaintiffs into

       purchasing the Prius by lying about the milage on the car.

14.    In response to the problem of false car odometers, Congress

       passed the Motor Vehicle Information and Cost Savings Act, part

       of which concerns odometer accuracy, and which generally is

       referred to as “the Odometer Act.”

15.    The Odometer Act provides:
      Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 3 of 27




       49 U.S.C.A. §§ 32701 (a) Findings.--Congress finds that--

       (1) buyers of motor vehicles rely heavily on the odometer reading

       as an index of the condition and value of a vehicle;

       (2) buyers are entitled to rely on the odometer reading as an

       accurate indication of the mileage of the vehicle;

       (3) an accurate indication of the mileage assists a buyer in deciding

       on the safety and reliability of the vehicle; and

       (4) motor vehicles move in, or affect, interstate and foreign

       commerce.

       (b) Purposes.--The purposes of this chapter are--

       (1) to prohibit tampering with motor vehicle odometers; and

       (2) to provide safeguards to protect purchasers in the sale of motor

       vehicles with altered or reset odometers.

16.    The Odometer Act requires a written disclosure of mileage or a

       written disclosure that the mileage is unknown, upon any transfer

       of a motor vehicle.

17.    49 U.S.C.A. § 32705(a) states:
      Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 4 of 27




       (a)(1) Disclosure requirements.—Under regulations prescribed by

       the Secretary of Transportation that include the way in which

       information is disclosed and retained under this section, a person

       transferring ownership of a motor vehicle shall give the transferee

       the following written disclosure:


       (A) Disclosure of the cumulative mileage registered on the

       odometer.


       (B) Disclosure that the actual mileage is unknown, if the transferor

       knows that the odometer reading is different from the number of

       miles the vehicle has actually traveled.

18.    Nesh as seller, and Plaintiffs as buyers, signed an ODOMETER

       DISCLOSURE STATEMENT stating “Federal law (and state law, if

       applicable) requires that you state the milage upon transfer of

       ownership. Failure to complete or providing a false statement may

       result in fines and/or imprisonment”.

19.    The ODOMETER DISCLOSURE STATEMENT was a simple single

       page document. See attached.
      Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 5 of 27




20.    The ODOMETER DISCLOSURE STATEMENT went on, “I, NESH

       AUTO SALES LLC, state the odometer now reads 166075 miles

       and to the best of my knowledge that it reflects the actual mileage

       of the vehicle described below, unless one of the following

       statements has been checked.”

21.    Neither of the below statements was checked even though Nesh

       knew that 2 should have been checked.

22.    Nesh intentionally misrepresented that 166,075 was the actual

       milage to induce Plaintiffs to purchase the car.

23.    In other words, Defendants sold a car to Plaintiffs that Plaintiffs

       never agreed to buy.

24.    Defendants did not simply accidentally make a mistake as to the

       description of the car.

25.    Rather, Nesh represented that the car had certain qualities that it

       knew that it didn’t have.

26.    The 2 options not checked were: “1) I hereby certify that to the best

       of my knowledge the odometer reading reflects the amount of

       mileage in excess of its mechanical limits” and “2) I hereby certify
      Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 6 of 27




       that the odometer reading is NOT the actual mileage WARNING:

       ODOMETER DISCREPANCY”.

27.    As stated, the ODOMETER DISCLOSURE STATEMENT was

       signed by Plaintiffs and Nesh on January 26, 2022.

28.    On the BILL OF SALE it shows that the Prius had mileage of

       166075.

29.    In other words, Plaintiffs assented to the purchase of a Prius with

       an actual mileage of 166,075. See attached.

30.    On the Georgia Form MV-1, MOTOR VEHICLE TITLE

       APPLICATION, the milage was listed as 166,075.

31.    Plaintiffs had no reason to question Nesh’s representations.

32.    Although the car was sold As-Is with no dealer warranty there

       was a list of “major defects” that may occur in used vehicles none

       of which had to do with a false milage disclosure. See attached.

33.    The list was a comprehensive list of defects in used vehicles but as

       stated the list did not include a false odometer disclosure.

34.    Similarly, the form used to calculate the ad valorem tax showed

       the Prius with 166075 miles. See attached.
      Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 7 of 27




35.    On or about February 12, 2022, Plaintiffs received paperwork in

       the mail having to do with their purchase of the Prius.

36.    It was at that time that Plaintiffs discovered that Nesh had falsely

       stated that 166,075 was the actual mileage.

37.    In the mail Plaintiffs received a Motor Vehicle Dealer Title

       Reassignment Supplement which contained their signature with a

       January 26, 2022, date of sale.

38.    As previously represented by Nesh, the form stated “I certify to

       the best of my knowledge that the odometer reading is the actual

       mileage of the vehicle unless one of the following statements is

       checked 166075 (None of the statements were checked.) See

       attached.

39.    The statements were “1) The mileage stated is in excess of its

       mechanical limits” and “2) The odometer reading is not the actual

       mileage” with boxed in words in red beside 2) stating

       “WARNING-ODOMETER DISCREPANCY”.

40.    However, in this mailing Plaintiffs saw a paper they had not

       previously seen before.
      Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 8 of 27




41.    On a separate Motor Vehicle Dealer Title Reassignment

       Supplement it showed that CarMax located at 3721 Buford Dr sold

       the car to CarMax located at 1975 Beaver Ruin Dr. See attached.

42.    Key to that sale was that choice 2 was selected showing that “The

       Odometer reading is not the actual mileage”.

43.    Then, that document shows that the CarMax at 1975 Beaver Ruin

       Road sold the car to Nesh.

44.    Importantly, choice 2 was selected showing that the Odometer

       reading is not the actual mileage.

45.    Nesh’s signature is 2 inches below that disclosure.

46.    Nesh knew that the odometer reading was not the actual mileage

       when it represented to Plaintiffs that the odometer reading was

       the actual mileage.

47.    Nesh intentionally concealed this form so that Plaintiffs would not

       know that the odometer reading is not the actual mileage.

48.    Indeed, it is unusual for a dealer to sell a car to an individual by

       Motor Vehicle Dealer Title Reassignment Supplement. See

       attached.
      Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 9 of 27




49.    The only reason that Nesh used this unusual method to transfer

       the car is to hoodwink Plaintiffs into thinking that 166,075 was the

       actual mileage.

50.    Upon learning that 166,075 was not the actual mileage, Plaintiffs

       wanted to return the car and get their money back.

51.    The hybrid battery of the Prius started to go out shortly after the

       purchase indicative of the mileage being far higher than 166,075.

52.    Nesh failed and refused to accept the car and return the purchase

       money to Plaintiffs.

53.    One of the Plaintiffs is an in-home physical therapist, and this

       entire situation has been a nightmare.

54.    Rather than seek to assist Plaintiffs, Nesh goaded Plaintiffs by

       blaming Plaintiffs and saying they were stuck with their own

       mistake.

55.    Under OCGA 10-1-399, Plaintiffs mailed a pre-suit letter to Nesh

       at least 30 days prior to the filing of this lawsuit.

56.    Plaintiffs identified themselves in that letter.

57.    Plaintiffs reasonably described the unfair or deceptive act or

       practice relied upon.
      Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 10 of 27




58.    Plaintiffs also reasonably apprised Nesh of the injury suffered

       because of its actions and inactions.


COUNT I– VIOLATION OF GEORGIA FAIR BUSINESS

PRACTICES- OCGA 10-1-399

59.    Plaintiffs incorporate all the previous paragraphs as though fully

       set forth here.

60.    Nesh represented that the mileage of the Prius was correct.

61.    Plaintiffs relied upon that representation.

62.    Plaintiffs were damaged by that representation because they paid

       more money for the car than they would have had the truth been

       told.

63.    Nesh is liable for three times actual damages.

64.    Nesh is liable for attorney’s fees.

65.    Nesh is liable for punitive damages in an amount to be

       determined at trial.


COUNT II- FRAUD

66.    Plaintiffs incorporate all the previous paragraphs as though fully

       set forth here.
      Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 11 of 27




67.    Nesh falsely represented the mileage of the Prius.

68.    Nesh knew that the mileage of the Prius was falsely represented.

69.    Nesh intended to induce Plaintiffs to purchase the Prius.

70.    Plaintiffs reasonably relied upon the representation of Nesh.

71.    Among other reasons why Plaintiffs reliance was justified on

       relying on Nesh was that Nesh subjected itself to criminal

       penalties if it did not disclose the mileage in accordance with what

       the law demands.

72.    Thus, Plaintiffs had strong reasons to believe that Nesh was telling

       the truth.

73.    Plaintiffs were not on “inquiry notice”.

74.    Plaintiffs were damaged by the fraud because they purchased a

       car that was not what they assented to buying and the Prius was

       worth far less than they were led to believe.

75.    Nesh is liable to Plaintiffs for actual damages and punitive

       damages.

76.    Nesh is liable to Plaintiffs for injuries to their peace, happiness and

       feelings.
        Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 12 of 27




  COUNT III- Violation of the Odometer Act




  77.    Plaintiffs incorporate all the previous paragraphs as though fully

         set forth here.

  78.    Nesh lied to Plaintiffs about the mileage of the Prius.

  79.    Nesh intended to defraud Plaintiffs into believing Nesh’s

         representation about the mileage of the Prius.

  80.    Under 49 C.F.R. § 578.6 (f)(2) Nesh is liable to Plaintiffs for three

         times actual damages or $11,956, whichever is the greater amount.

  81.    Under 49 U.S.C.A. § 32710(b), Nesh is liable to Plaintiffs for

         reasonable attorney’s fees.

  82.    79.Under 49 U.S.C.A. § 32710(b), Nesh is liable to Plaintiffs for

         costs.


COUNT IV– VIOLATION OF OCGA 40-8-5- GEORGIA’S ODOMETER

STATUTE

  83.    Nesh knew when it sold the Prius that the odometer reflected

         lower mileage than the actual mileage the car had been driven.
        Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 13 of 27




  84.     Nesh intended to defraud Plaintiffs into buying the car by

          believing something major about the car (mileage) was true when

          it wasn’t.

  85.     Nesh is liable to Plaintiff for three times the amount of actual

          damages, costs and reasonable attorney’s fees.




COUNT V– ATTORNEY’S FEES AND LITIGATION EXPENSES- OCGA

13-6-11

  86.     Plaintiffs incorporate the preceding allegations by reference.

  87.     Nesh has acted in bad faith, has been stubbornly litigious, and has

          caused the plaintiffs unnecessary trouble and expense.

  88.     Nesh had multiple opportunities to avoid this lawsuit.

  89.     Nesh could have told truth on the Odometer Disclosure Statement.

  90.     Nesh could have undone the deal returning the money and getting

          the car back.

  91.     Instead, Nesh took a “so sue me” attitude.

  92.     Nesh ignored the 10-1-399 sent by Plaintiffs.


Request for Relief
       Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 14 of 27




Plaintiffs request that the Court award all relief requested in this

Complaint.



JURY TRIAL DEMAND


Plaintiffs demand a jury trial.




Dated this 6th Day of April 2022.

Respectfully submitted,
By: /s/ Shimshon Wexler
GA Bar No. 436163
S Wexler LLC
2244 Henderson Mill Rd, Ste 108
Atlanta, GA 30345
(212) 760-2400
(917) 512-6132 (FAX)
swexleresq@gmail.com
Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 15 of 27
Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 16 of 27
Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 17 of 27
Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 18 of 27
Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 19 of 27
Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 20 of 27
Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 21 of 27
Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 22 of 27
Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 23 of 27
Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 24 of 27
Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 25 of 27
Dealer Reassignment Form | Georgia Department of Revenue        https://dor.georgia.gov/motor-vehicles/dealer-distributor-manufacturer-tr...
                         Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 26 of 27




                Dealer Reassignment Form

                The assignment spaces on the title should be used to transfer ownership of the
                vehicle. Failure to apply for the Title will cause additional Ad Valorem Tax fee
                penalties (in addition to other fees and penalties).

                In rare cases, when the vehicle’s title, assigned to the dealership, is not available at
                the time of sale (i.e. Title is in the office’s safe and the vehicle is sold after business
                hours, etc.) or all the assignment spaces on the vehicle’s title have been completed,
                a licensed dealer may use a Secure Dealer Reassignment Form to transfer the
                ownership of a vehicle to the customer. The Secure Dealer Reassignment Form
                should not be used if the title is available.

                Secure Dealer Reassignment forms should only be used in rare cases when the title
                is either not available or all the spaces on the title have been completed and can
                only be used:

                   After the title has been completed transferring ownership of the vehicle to
                   dealership.

                   Only if the dealership is the owner of the vehicle prior to selling or transferring
                   ownership.

                   When the title becomes available, the Dealership must enter the Dealer’s
                   Reassignment form’s control number in the title assignment space where the
                   customer’s name is usually entered. The Dealer Reassignment form must
                   accompany the title when a title is applied for in the customer’s name.

                Dealer Reassignment forms can only be purchased from the following authorized
                dealer associations:

                Independent (Used) Automobile Dealers Association




1 of 2                                                                                                                  4/6/2022, 1:01 PM
Dealer Reassignment Form | Georgia Department of Revenue   https://dor.georgia.gov/motor-vehicles/dealer-distributor-manufacturer-tr...
                         Case 1:22-cv-01354-LMM Document 1 Filed 04/07/22 Page 27 of 27


                Georgia Independent Automobile Dealers Association (GIADA)
                6903-A Oak Ridge Commerce Way
                Austell, Georgia 30168
                Phone: 770-745-9650
                Toll Free: 800-472-8101
                Fax: 770-745-9100
                Email: info@giada.com (mailto:info@giada.com)

                New (Franchise) Automobile Dealers Association

                Georgia Automobile Dealers Association (GADA)
                2255 Cumberland Parkway, Building 900
                Atlanta, Georgia 30339-4515
                Phone: 770-432-1658
                Fax: 770-432-9100
                Email: info@gada.com (mailto:info@gada.com)




2 of 2                                                                                                             4/6/2022, 1:01 PM
